 

 

Case 3:18-mj-00256-EI\/|T Document 2 Filed 09/07/18 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

UNITED STATES GF AMERICA

vs. Case No. 3:18mj256

JOSEPH MALDONADO-PASSAGE

 

INITIAL APPEARANCE FOR DEFENDANT
CHARGED IN ANOTHER DISTRICT

The defendant has been advised by the undersigned of the rights enumerated
herein and the following action has been taken:

l. Advised that defendant is before a U.S. Magistrate l/
2. Advised of the charge or charges L/

3. Advised that defendant does not have to make any
statement; that they have a right to consult
With an attorney before making any statement;
that any statement they make could be used
against them; that they will not be called

\./
upon to enter a plea at this hearing
4. Advised of right to hire counsel, or have
counsel appointed if, after inquiry, found
to be financially unable to hire counsel b-/
5. Defendant Waived attendance of counsel for

this hearing and advised that Waiver does
not prevent requesting counsel for trial

6. Defendant executed CJA 23 ‘/

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F ederal public defender appointed after
determination defendant unable to hire
counsel (CJA 20)

Advised defendant should obtain
and file CJA 23 if subsequently

decide to request appointment of counsel

Defendant admitted financial ability to employ
counsel/Counsel

Defendant found financially unable to
employ counsel

Defendant found to be able to make full
or partial payment for appointed counsel

F ederal public defender appointed solely for
the purposes of proceedings in this district

Since indicted, informed that not entitled to a \/
preliminary hearing

Advised of right to hearing in this district as to identity
(Rule 5 (a))

(a) Advised of right to subpoena Witnesses
and produce evidence at identity hearing

(b) Advised the consequence after identity
hearing is removal to the charging district

and issuance of Warrant

(c) Advised of right to Waive identity hearing

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18.

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(d) Identity hearing waived (AO 121)

(e) Fix date for identity hearing

 

(f) Identity hearing held and defendant
found/not found to be the persons
named in the charging instrument

(g) Removal warrant authorized

Defendant advised of right to consider
Rule 20 transfer

Defendant advised of right to reasonable bail

Order Setting Conditions of Release entered
(AO 199A)

Government moved for detention without bail

(a) Government represented ready for detention
hearing immediately

(b) Government requested continuance of l ’3

days (up to and including 3 days)

(c) Defendant advised of right of continuance
for up to and including 5 days

(d) Detention hearing scheduled and Temporary
Detention Order entered

(e) Detention hearing conducted
l) Order of detention entered
2) Order Setting Conditions of Release entered

(f) Defendant stipulated to detention pending

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review in charging district

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(g) Defendant currently under order of
incarceration, negating necessity of
consideration of detention on this
charge(s) at this time

ELIZABETH M. TIMOTHY
CHIEF UNITED STATES MAGISTRATE JUDGE

NOTES:

 

 

 

AUSA present at initial appearance: 94 (,¢\/~<,
AFPD present at initial appearance: fla K~\ \1’\

Date: September 7, 2018

mw/m..lw,.,~...,-M»Mr.m~mm....,_~.t.....,........»~__,.".____.~_ ._ 1 _

